     Case:18-01254-EAG13 Doc#:118 Filed:08/11/21 Entered:08/11/21 08:11:16   Desc: Main
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


  IN RE:                                        CASE NO. 18-01254-EAG
  ELBA IRIZARRY CASTRO
                                                    CHAPTER 13

          DEBTOR (S)


                         TRUSTEE'S REPORT REGARDING THE STATUS
                              OF CHAPTER 13 PLAN PAYMENTS

  TO THE HONORABLE COURT:

       José R. Carrión, Chapter 13 Trustee, through the undersigned attorney, very
  respectfully alleges and prays:

       1. The Trustee hereby provides a report regarding the status of the Chapter
  13 Plan payments in this case.

       2. As of August 11, 2021 our record of payments received in this case
  reflects the following:

          -   Total Paid in:            $8,665.00
          -   Balance on Hand:       $724.00
          -   Last Payment date:     August 09, 2021
          -   Last Payment Amount:   $300.00
          -   Amount in Default:     $400.00
          -   Plan Date:             September 22, 2020

       3. If debtor(s) have paid an amount greater than the amount stated above,
  then please provide the Office of the Chapter 13 Trustee with evidence of the
  payments totaling a different amount.


        WHEREFORE, the Chapter 13 Trustee respectfully prays that this information
   provided herein be taken in consideration in the pertinent proceedings before
this Honorable Court.

       I HEREBY CERTIFY that on this date I notified a true copy of this document
  to the Debtor(s) to her/his/their address of record by first-class mail, and by
  electronic means (CM/ECF System) to her/his/their attorney of record.

        In San Juan, Puerto Rico this Wednesday, August 11, 2021.


                                                      /s/ Jose R. Carrion

                                                      JOSE R. CARRION
                                                      CHAPTER 13 TRUSTEE
                                                      P.O. Box 9023884,
                                                      San Juan, P.R. 00902-3884
